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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION

LTNITED STATES OF AMERICA                  )       CRIMINAL NO.       0:25-26
                                           )              21 u.s.c. $ 8a1(a)(1)
                                           )              21 u.s.c. $ 841(bXlXB)
                                           )              21 U.S.C. $ 853
                                           )              21 U.S.C. $ 881
                                           )              28 U.S.C. $ 2a61(c)
                                           )
                                           )
JUSTIN LEE PAYNE                           )              INFO        TION




                                         COLINT I
                               (PWID of Controlled Substance)

THE UNITED STATES ATTORNEY CHARGES:

       That on or about May 31, 2024, in the District of South Carolina, the Defendant, JUSTIN

LEE PAYNE, knowingly, intentionally, and unlawfully did possess with intent to distribute 40

gftlms or more of a mixture or substance containing a detectable amount of N-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyll propanamide (commonly referred to as ..fentanyl,,), a Schedule II

controlled substance;

       In violation of Title 21, United States Code, Sections 8al(a)(l) and SalOXlXB).
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                                          FORFEITURE

DRUG OFFENSE

       Upon conviction for felony violation of Title 21, United States Code as charged in this

Information, the Defendant, JUSTIN LEE PAYNE, shall forfeit to the United States all of the

Defendant's rights, title, and interest in and to any property, real and personal,

       (a) constituting, or derived from any proceeds the Defendant obtained, directly or
             indirectly, as the result of such violation(s) of Title 2l , United States Code, and all
             propefiy traceable to such property;

       (b) used or intended to be used, in any manner or part, to commit or to facilitate the
             commission of such violations of Title 21, United States Code.


PROPERTY:

       Pursuant to Title 21, United States Code, Sections 853 and 881, and Title 28, United States

Code, Section 2461(c), the property which is subject to forfeiture upon conviction ofthe Defendant

for the offense charged in this Information includes, but is not limited to, the following:

               Proceeds/Forfeiture J        ent:

               A sum ofmoney equal to all property the Defendant obtained as a result of
               the drug offense charged in the Information, and all interest and proceeds
               traceable thereto as aresultofhis violation of 21 U.S.C. $ 841.

SUB STITUTION OF ASSETS:

       Ifany forfeited property being subject to forfeiture, as a result ofany act or omission ofthe

Defendant:

               (a)     cannot be located upon the exercise of due diligence;
               (b)     has been transferred or sold to, or deposited with, a third person;
               (c)     has been placed beyond the jurisdiction ofthe Court;
               (d)     has been substantially diminished in value; or
               (e)     has been commingled with other properf which cannot be subdivided
                       without difficulty;
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it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p) to seek

forfeiture of any other property of Defendant up to an amount equivalent to the value of the

forfeitable property.

        Pursuant to Title 2l , United States Code, Sections 853 and 881 , and Title 28, United States

Code, Section 2461(c).




ADAIR F.         OUGH
UNI                        RNEY


By,
Winston D. Holliday, Jr. (Fed. ID # 75
Assistant United States Attomey
United States Attomey's Office
1441 Main Street, Suite 500
Columbia, SC 29201
Telephone 803-929-3000
Facsimile 803-256-0233
Winston.holliday@usdoj. gov
